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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)


                                       UNITED STATES DISTRICT COURT                                                          Jul 14 2022
                                                                     for the
                                                     Southern District of California                 E)
                                                                                                                               s/ charlest
                      HECTOR SEGURA                                           )
                         Plaintiff/Petitioner                                 )
                                  V.                                          )        Civil Action No.       '22CV1029 RBM AHG
                    CITY OF SAN DIEGO                                         )
                       Defendant/Respondent                                   )

        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Long Form)


 Affidavit in Support of the Application                                     Instructions

 I am a plaintiff or petitioner in this case and declare                     Complete all questions in this application and then sign it.
 that I am unable to pay the costs of these proceedings                      Do not leave any blanks: if the answer to a question is "0,"
 and that I am entitled to the relief requested. I declare                   "none," or "not applicable (N/A)," write that response. If
 under penalty of perjury that the information below is                      you need more space to answer a question or to explain your
 true and understand that a false statement may result in                    answer, attach a separate sheet of paper identified with your
 a dismissal of my claims.                                                   name, your case's docket number, and the question number.

 Signed: ~ ~                                                                 Date:               07/14/2022


1.        For both you and your spouse estimate the average amount of money received from each of the following
          sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
          semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
          for taxes or otherwise.
                      Income source                                    Average monthly income                     Income amount expected
                                                                       amount during the past 12                        next month
                                                                               months
                                                                         You            Spouse                      You              Spouse
Employment                                                                                                                0.00 $
                                                                  $                0.00 $                     $
Self-employment
                                                                  $                0.00 $                     $           0.00 $
Income from real property (such as rental income)
                                                                  $                0.00 $                     $           0.00 $
Interest and dividends
                                                                  $                0.00 $                     $           0.00 $
Gifts
                                                                  $                0.00 $                     $           0.00 $
Alimony
                                                                  $                0.00 $                     $           0.00 $
Child support
                                                                  $                0.00 $                     $           0.00 $
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Retirement (such as social security, pensions, annuities,
                                                                    $                0.00 $                      $         0.00 $
insurance)
Disability (such as social security, insurance payments)
                                                                    $                0.00 $                      $         0.00 $
Unemployment payments
                                                                    $                0.00 $                      $         0.00 $
Public-assistance (such as welfare)
                                                                    $            750.00 $                        $     750.00 $
Other (specify) :
                                                                    $                       $                    $               $

                                                                    $             750.00 $                   0.00 $    750.00 $           0.00
                                  Total monthly income:

2.        List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
          other deductions.)

Employer                              Address                                                        Dates of employment           Gross
                                                                                                                                 monthly pay
NONE                                                                                                                             $

                                                                                                                                 $


3.        List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
          taxes or other deductions.)

Employer                              Address                                                        Dates of employment           Gross
                                                                                                                                 monthly pay
NO SPOUSE                                                                                                                        $

                                                                                                                                 $

                                                                                                                                 $


4.        How much cash do you and your spouse have? $
          Below, state any money you or your spouse have in bank accounts or in any other financial institution.

Financial institution                           Type of account                                     Amount you have             Amount your
                                                                                                                                 spouse has
BANK OF AMERICA                                                                             $                         5.00 $

                                                                                            $                               $

                                                                                            $                               $


If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings .

                                                      Assets owned by you or your spouse


Home (Value)                                                                                                   $                           0.00
Other real estate (Value)
                                                                                                               $                           0.00

Motor vehicle #1 (Value)                                                                                       $                    4,000.00

                  Make and year: FORD               2000

                  Model:                F-150

                  Registration #:

Motor vehicle #2 (Value)                                                                                       $

                  Make and year:

                  Model:

                  Registration #:

Other assets (Value)                                                                                           $

Other assets (Value)                                                                                           $


6.        State every person, business, or organization owing you or your spouse money, and the amount owed.

Person owing you or your spouse                            Amount owed to you                               Amount owed to your spouse
money
                                                $                                                   $

                                                $                                                   $

                                                $                                                   $


7.        State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only)                                        Relationship                                        Age
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8.        Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
          spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
          monthly rate.
                                                                                                                You               Your spouse

Rent or home-mortgage payment (including lot rented.for mobile home)
        Are real estate taxes included? 0 Yes 0 No                                                          $         400.00 $
        Is property insurance included? 0 Yes 0 No
Utilities (electricity, heating.fuel, water, sewer, and telephone)                                          $                $

Home maintenance (repairs and upkeep)                                                                       $                $

Food                                                                                                        $         250 .00 $

Clothing                                                                                                    $                $

Laundry and dry-cleaning                                                                                    $         100.00 $

Medical and dental expenses                                                                                 $                $

Transportation (not including motor vehicle payments)                                                       $                $

Recreation, entertainment, newspapers, magazines, etc.                                                      $                $

Insurance (not deducted from wages or included in mortgage payments)

          Homeowner's or renter's:                                                                          $                $

          Life:                                                                                             $                $

          Health:                                                                                           $                $

          Motor vehicle:                                                                                    $                $

          Other:                                                                                            $                $
Taxes (not deducted.from wages or included in mortgage payments) (specify):
                                                                                                            $                $

Installment payments

          Motor vehicle:                                                                                    $                $

          Credit card (name) :                                                                              $                $

          Department store (name):                                                                          $                $

          Other:                                                                                            $                $

Alimony, maintenance, and support paid to others                                                            $                $
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Regular expenses for operation of business, profession, or farm (attach detailed
                                                                                                             $         $
statement)

Other (sp ecify) :                                                                                           $         $

                                                                                                             $   750.00 $             0.00
                                                                        Total monthly expenses:

9.        Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
          next 12 months?
          0 Yes          ~No              If yes, describe on an attached sheet.

10.       Have you spent - or will you be spending -                    any money for expenses or attorney fees in conjunction with this
          lawsuit? 0 Yes ~No
          If yes, how much? $ - - - - - -- --

11.       Provide any other information that will he}p explain why you cannot pay the costs of these proceedings.
             I AM HOPING TO GET PERMANENT DISABILITY.




12.       Identify the city and state of your legal residence.
             SAN DIEGO CALIFORNIA


          Your daytime phone number:                               (619) 372-3444

          Your age:          42         Your years of schooling:
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